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Counsel for Petitions Rachelle Frisby and
John Johnston, in their capacity as Joint
Provisional Liquidators and
Foreign Representatives

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


In re:                                                   Chapter 15

PB LIFE AND ANNUITY CO., LTD.,                           Case No. 20-12791 (SCC)
et al.,1
                                                         (Jointly Administered)
            Debtors in Foreign Proceedings.


                                      CERTIFICATE OF SERVICE

       Constantine D. Pourakis hereby certifies that on December 4, 2020, true and correct
copies of the:

         1. Notice of Entry of Temporary Restraining Order and Order Shortening Notice of
            Motion Seeking Provisional Relief [Docket No. 10];

         2. Notice of Entry of Temporary Restraining Order and Order Shortening Notice of
            Motion Seeking Provisional Relief [Docket No. 9, In re: Northstar Financial Services
            (Bermuda) Ltd., Case No. 20-12792 (SCC)];



1
 PB Life and Annuity Co., Ltd., Northstar Financial Services (Bermuda) Ltd. and Omnia Ltd, foreign Debtors, are
Bermuda limited companies which each have a registered address in Bermuda of Ocorian Services (Bermuda)
Limited, Victoria Place, 5th Floor, 31 Victoria Street, Hamilton, HM 10, Bermuda, and are Jointly Administered for
procedural purposes, by Order of this Court entered on December 4, 2020, ECF No. 11.



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       3. Notice of Entry of Temporary Restraining Order and Order Shortening Notice of
          Motion Seeking Provisional Relief [Docket No. 9, In re: Omnia Ltd., Case No. 20-
          12793 (SCC)];

       4. Order Directing Joint Administration of the Debtors’ Chapter 15 Cases
          [Docket No. 11];

       5. Motion for (I) Ex Parte Emergency Relief and (II) Provisional Relief Pursuant to 11
          U.S.C. §§ 1519, 1521(A)(3), 1521(A)(7), and 362 [Docket No. 5];

       6. Motion for (I) Ex Parte Emergency Relief and (II) Provisional Relief Pursuant to 11
          U.S.C. §§ 1519, 1521(A)(3), 1521(A)(7), and 362 [Docket No. 5, In re: Northstar
          Financial Services (Bermuda) Ltd., Case No. 20-12792 (SCC)];

       7. Motion for (I) Ex Parte Emergency Relief and (II) Provisional Relief Pursuant to 11
          U.S.C. §§ 1519, 1521(A)(3), 1521(A)(7), and 362 [Docket No. 5, In re: Omnia Ltd.,
          Case No. 20-12793 (SCC)];

       8. Order (I) Scheduling Hearing on Verified Petitions of (A) PB Life and Annuity Co.,
          Ltd., (B) Northstar Financial Services (Bermuda) Ltd., and (C) Omnia, Ltd.; (II)
          Specifying Deadline for Filing Objections; and (III) Specifying Form and Manner of
          Service of Notice [Docket No. 12]; and

       9. Notice of Filing and Hearing on Verified Petitions for Recognition of Foreign
          Proceedings and Request for Related Relief [Docket No. 13]

were served on all parties in interest through the Court’s CM/ECF system, and additionally, upon
the parties set forth on the attached service list via FEDERAL EXPRESS.



Dated: New York, New York
       December 4, 2020
                                            STEVENS & LEE, P.C.

                                            By:    /s/ Constantine D. Pourakis
                                                   Constantine D. Pourakis


                                            Counsel for the Petitioners Rachelle Frisby and
                                            John Johnston, in their capacity as Joint
                                            Provisional Liquidators and Foreign
                                            Representatives




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                                        SERVICE LIST

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